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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                     CASE NO. 20-cv-25318-BB

  BLUEGREEN VACATIONS UNLIMITED, INC. et
  ano.,

         Plaintiffs,

  v.

  TIMESHARE TERMINATION TEAM, LLC, et al.,

        Defendants.
  _____________________________________________/

                  AMENDED CROSS-NOTICE OF DISCOVERY HEARING

         PLEASE TAKE NOTICE that Defendants, Michael A. Molfetta and Molfetta Law, LLC,

  respectfully submit this amended cross-notice of the following matters to be heard before the

  Honorable Magistrate Judge Alicia M. Otazo-Reyes via Zoom conference on Thursday,

  December 15, 2022, at 1:00 p.m. ET:

                                     DISCOVERY DISPUTE:

         Defendants, Michael A. Molfetta and Molfetta Law, LLC (together, “Molfetta”), and

  Plaintiffs, Bluegreen Vacations Unlimited, Inc. and Bluegreen Vacations Corporation, have

  resolved several of the disputes in Molfetta’s prior cross-notice [D.E. 438], but cannot come to

  agreement on certain other issues that have arisen:

         (1) Plaintiffs produced versions of their loan payment summary (“LSAM”) computer

             printouts that are supposed to include the credit scores of the 24 relevant owners. The

             LSAMs produced by Plaintiffs to date do not include these credit scores, despite having

             a credit score field.
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         (2) Plaintiffs produced a loan history chart that contains the name of an individual who is

               not one of the 24 relevant owners in this case.

                            LOCAL RULE 7.1(a)(3) CERTIFICATION

         Counsel for Molfetta hereby certifies that they have engaged and continue to engage in

  conferrals with counsel for Plaintiffs on the foregoing issues, and that despite these efforts, the

  parties remain in dispute over them.

  Dated: December 14, 2022

                                         Respectfully submitted,


                                         By: /s/ Christopher Cavallo
                                         Jonathan Etra
                                         Florida Bar No. 0686905
                                         Christopher Cavallo
                                         Florida Bar No. 0092305
                                         NELSON MULLINS BROAD AND CASSEL
                                         Co-Counsel for Defendants Michael A.
                                         Molfetta
                                         and Molfetta Law, LLC
                                         One Biscayne Tower, 21st Floor
                                         2 S. Biscayne Boulevard
                                         Miami, FL 33131
                                         Telephone: 305.373.9400
                                         Facsimile: 305.995.6449



                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 14th day of December 2022, a true and correct copy of

  the foregoing has been served to the parties on the following service list, in the manner so

  indicated.

                                                 By: /s/ Christopher Cavallo
                                                 Christopher Cavallo




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